- 2:25-cv-00553-JD-MGB _ Date Filed 04/30/25 EntryNumber14 — Page 1 of 2

Gaston County Sheriff's Office

Sheriff - 425 Dr, Martin Luther King Jr, Way
iis ES etc 2
Telephone: 704-869-6800 Opt 5 Fax:
Gaston County we : 704-862-6633

dildo al PicgOin ii roleead Section

NORTH CAROLINA | Affidavit of Service

GASTON COUNTY Affidavit of Non-Service

J is UA ip gi , being first duly sworn deposes and says that he/she is a citizen and

resident of the United States of America; he/she is and was an authorized process server in Gaston County,
North Carolina; he/she was over the age of twenty-one years; he/she is and was not a party not interested in
this action.

This affiant received the said SUMM O N S/CO MPLAINT
24TH day of February 2025to be served on MARK MERRITT

on the

and returned as follows:

SX personally served the same on marke Meee on the 25. day of
Fob, , 2025

served the same on by leaving copies with

on the day of , 2025

unable to serve for the following reason:

Chad Hawkins

Sworn to and subscribed fop me this Gaston County Sheriff

, 2025

a am any of

-

Gt

By:

ae. Lou Deputy Siferiff

Notd ry Public

My Commission Expires: Tose ly AQ’

Rev. 12/24
‘ 2:25-cv-00553-JD-MGB

Date Filed 04/30/25
2:2'5-cv-00553-JD-MGB

Entry Number 14
Date Filed 02/19/25

Page 2 of 2
Ehtry Number 8

Page 3 of 6

AO 440 (Rev. 06/12) Summons inn Civil Action

UNITED STATES DISTRICT COURT

for the

District of South Carolina [I

Jay Gonnor )
)
)
)
Plat) )
v. Civil Action No, 2:25-cv-00553-JD-MGB
American Legacy Partners, Inc., Jaramy Wilson )
Individually, Mark Merritt Individually and John Doas )
1-10
)
Defendant(s) a
re
SUMMONS IN A CIVIL ACTION wet
yO F
To! (Defendant's name and address} Mat Mer its Drive - 5 :
Gastonla, NC 28056 co:
gy |
Mm
Go
A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States apency, or an officer ov employee of the United States described in I'ed. R. Civ.
P, 12 (a)(2) or (3) -— you must serve on the plaintif an answer to the attached complaint ora motion under Rule £2 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Jay Connor

215 East Bay Street 201-F

Charlaston, SC 284014

Jaye650@hush.com

Ifyou fail to respond, judgment by default will be entered against you for the relief demanded in the complaint,
You also must file your answer or motion with the court.

CLERK OF COURT
f \
Pate: 2/19/2025 ! ky A).

Signature af Clerk or Deputy Clerk

$d
